Case 1:03-cv-01097-.]DT-STA Document 129 Filed 06/10/05 Page 1 of 3 Page|D 167

 

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lN THE UNITED STATES DISTRICT COURT [@§}’
FoR THE WESTERN DISTRICT oF TENNESSEE 05 b//j ` \@_\
EAsTERN DIVIsIoN /`#’ " 05
leg
DAN E. LONG, )
)
Piaintiff, )
)
V. ) No. 03-1097-T-An
)
THE PROCTER AND GAMBLE )
MANUFACTURING COMPANY, )
a corporation, (
)
Defendant. )

 

ORDER ADOPTING REPORT AND RECOMMENDATION OF MAGISTRATE

 

Plaintiff’ S motion to strike the affidavits of Charles Reed, Robert Alvey, and Angelia
Legions Was referred to Magistrate S. Thomas Anderson for a report and recommendation
On May 16, 2005, Magistrate Judge Anderson issued a report and recommendation The
report recommended that the motion be denied. No objection to that report has been filed
Consequently, the report and recommendation is ADOPTED.

IT IS SO ORDERED.

NQ§VMAW

S D. TODD
UNI ED STATES DISTRICT .TUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 129 in
case 1:03-CV-01097 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
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